           Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 1 of 43

                                                                                   FILED
                                                                                 U.S. DISTRICT COURT
                                                                             EASTERN DISTRICT ARKANSAS


                          IN THE UNITED STATES DISTRICT COURT                    FEB   o7 2018
                                          FOR
                           THE EASTERN DISTRICT OF ARKANSAS

JERRI PLUMMER

Vs.                            CASE NO. 4:18-CV-00063-JM

 RHETT MCSWEENY;
 DAVID LANGEVIN;
MCSWEENY LANGEVIN, LLC;
WHITNEY SHOEMAKER, DO;
WOMEN'S HEALTH AND SURGERY CENTER, LLC;
PLAINTIFF FUNDING HOLDING INC., D/B/A/ LAWCASH;
VINCENT CHHABRA;
MICHAEL CHHABRA;
LAW FIRM HEADQUARTERS, LLC.;
SURGICAL ASSISTANCE, INC;
WESLEY BLAKE BARBER;
KASIA OSADZINSKA, M.D.;
ALPHA LAW, LLP.;
RICHARD MARTINDALE;
RON LASORSA;
DIANE SUGIMOTO; and
JOHN DOES 1-97                                                               DEFENDANTS


                                FIRST AMENDED COMPLAINT

        Comes now the Plaintiff, Jerri Plummer, by and through her attorneys, the Baxter Law

firm and Ellis Law Firm, PA., and for her first amended complaint herein alleges and states:

                                      INTRODUCTION

    1. This cause of action stems from a deep-running conspiracy to turn a potentially

       defective medical product into a cash cow for a wide range of people including

       lawyers, doctors, and investors, but unfortunately not for the women who had the

       potentially defective medical product installed inside of their bodies. In fact, the

       result of this scheme left these women as victims of an extraneous invasive medical



First Amended Complaint                      1
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 2 of 43




        procedure that exacerbated their existing medical problems and with little or no

        compensation for the harm done.

    2. This is an action for professional negligence, breach of fiduciary duty, civil conspiracy,

        deceptive trade practices, and declaratory judgment under Arkansas law.

                                           PARTIES

    3. Plaintiff Jerri Plummer ("Jerri") is, and at all times relevant hereto, was a resident of

        Saline County, Arkansas.

    4. Based upon information and belief, Defendant Rhett Mcsweeney is a resident of the

        state of Minnesota. Likewise, Defendant Mcsweeney is a licensed attorney in the state

        of Minnesota. Rhett Mcsweeney has validly waived service of process in this action

       through his attorneys.

    5. Based upon information and belief, Defendant David Langevin is a resident of the

       state of Minnesota. Likewise, Defendant Langevin is a licensed attorney in the state

       of Minnesota. David Langevin has validly waived serve of process in this action

       through his attorneys.

    6. Based upon information and belief, Defendant Mcsweeney-Langevin, LLC

       ("Mcsweeney/Langevin"), is a limited liability company organized under the laws o.f

       Minnesota with all of its members being residents of Minnesota. Both Defendants

       Rhett    Mcsweeney        and   David   Langevin    are   members      and   agents    of

       Mcsweeney/Langevin, LLC. McSweeney/Langevin has been validly served with

       process of this action.




First Amended Complaint                        2
Plummer v. Mcsweeney, et. al
            Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 3 of 43




    7. Based upon information and belief, Defendant Richard Martindale is a resident of

         Washington, D.C. or the state of Texas. Likewise, Defendant Martindale is a licensed

         attorney in the state of Texas and in Washington, D.C.

    8. Based upon information and belief, Defendant Alpha Law LLP ("Alpha Law"), is a

         limited liability partnership formed under the laws of the District of Columbia with

         all of its members being residents of states other than Arkansas. Further, based upon

         information and belief, Alpha Law can be served through its registered agent in the

         District of Columbia, Lonny Bramzon, Esq., 1201 L Street NW, Suite 800, Washington,

         District of Columbia 20037.

    9.    Based upon information and belief, Defendant Whitney Shoemaker is a resident of

         Florida.

    10. Based upon information and belief, Defendant Women's Health and Surgery Center,

         LLC ("Women's Health and Surgery"), is a limited liability company organized under

         the Jaws of Florida with all ofits members being residents of Florida. Women's Health

         and Surgery has been validly served with process in this action.

    11. Based upon information and belief, Defendant, Plaintiff Funding Holding, Inc., is a

         corporation organized under the laws of Delaware with its principle place of business

         in New York. Further, Plaintiff Funding Holding, Inc., does business as "LawCash."

         Plaintiff Funding Holding, Inc. (hereinafter referred to as "LawCash"), can be served

         through its agent of service with the Delaware Secretary of State, Corporation Service

         Company, 251 Little Falls Drive, Wilmington, Delaware 19808.

   12. Based upon information and belief, Defendant Vincent Chhabra is a resident of the

         state of Florida.


FirstAmended Complaint                         3
Plummer v. Mcsweeney, et. al
           Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 4 of 43




    13. Based upon information and belief, Defendant Michael Chhabra is a resident of the

        state of Florida.

    14. Based upon information and belief, Defendant Ron Lasorsa is a resident of the state

        of Florida.

    15. Based upon information and belief, Law Firm Headquarters, LLC ("Law Firm

        Headquarters"), is a limited liability company organized under the laws of Florida

        with all its members being residents of the state of Florida. Likewise, based upon

        information and belief, both Defendants Michael Chhabra and Vincent Chhabra are

        believed to be members and agents of Law Firm Headquarters, which is their alter

        ego. Law Firm Headquarters was validly served with process of this action on

        December 12, 2017.

    16. Based upon information and belief, Defendant Surgical Assistance, Inc. is a dissolved

        Florida Corporation. Surgical Assistance can be served through its registered agent

        of service, MDJD Marketing and Management Consultants, Inc, at 8815 Conroy

       Winderemere Rd., Suite 171, Orlando, Florida 32835.

    17. Based upon information and belief, Defendant Wesley Blake Barber ("Mr. Barber")

       is a resident of the state of Florida.

    18. Based upon information and belief, Defendant Kasia Osadzinska, M.D. is a resident

       of the state of Florida.

    19. Based upon information and belief, Defendant Diane Sugimoto, is a resident of the

       state of Florida.

                                  JURISDICTION AND VENUE




First Amended Complaint                         4
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 5 of 43




    20. Rhett Mcsweeney, David Langevin, Mcsweeney/Langevin, Richard Martindale, and

        Alpha Law have all been counsel for the Plaintiff in a claim against Boston Scientific

        regarding potentially defective transvaginal mesh. Jerri is a resident of Arkansas. The

        mesh in question was implanted in Arkansas. Likewise, Jerri's claim for personal

        injury in which the above-mentioned attorneys represented her arises under

        Arkansas law. Further, Mcsweeney/Langevin advertises that they handle claims in

        Arkansas. 1 Additionally, as detailed later in Complaint, all of the Defendants engaged

        in a conspiratorial relationship to have Jerri, a resident of Arkansas, leave Arkansas

        and travel to Florida in order to receive unnecessary medical treatment for the sole

        purpose of increasing the value of her case to them, and thus increase their profits.

    21. Also, LawCash is in the business of lending money to people with personal injury

        claims. LawCash lends money to people with personal injury claims in Arkansas, and

        LawCash specifically loaned money to Jerri secured by an interest in her potential

        personal injury claim against Boston Scientific while Jerri was a resident of Arkansas.

        In fact, the contractual document that Jerri executed with LawCash was executed by

        her in the state of Arkansas. Jerri's claims against LawCash relate to this loan funding

        relationship. Moreover, Jerri was referred to LawCash by Surgical Assistance, Mr.

       Barber, and Law Firm Headquarters.

    22. Furthermore, Defendant Law Firm Headquarters was in the business of soliciting

       potential vaginal mesh clients for Alpha Law and McSweeney/Langevin.                They

       likewise managed parts of the clients' cases that they generated for Alpha Law and



1www.westrikeback.com (accessed October 29, 2017) (stating "[o]ur dangerous and defective medical
device attorneys handle cases throughout the entire United States: .. .Arkansas ...").

First Amended Complaint                        5
Plummer v. Mcsweeney, et. al
           Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 6 of 43




         Mcsweeney/Langevin. At all times in their solicitation and management of clients,

         they were agents of Mcsweeney/Langevin, Rhett Mcsweeney, David Langevin,

         Richard Martindale, and Alpha Law.2

     23. Law Firm Headquarters, Mcsweeney/Langevin, Rhett Mcsweeney, David Langevin,

         Richard Martindale, Ron Lasorsa, Diane Sugimoto, and Alpha Law caused Jerri to be

         the recipient of a telephonic cold call in which employees and agents of Law Firm

         Headquarters had the intent to sign Jerri up for legal representation with Alpha Law

        and Mcsweeney/Langevin. Further, Law Firm Headquarters, in coordination with

        Surgical Assistance and Mr. Barber, fraudulently convinced Jerri, while she was in and

        a resident of the state of Arkansas, that she needed to have her Boston Scientific

        vaginal tape removed in Florida.

    24. Law Firm Headquarters, Surgical Assistance, and Mr. Barber helped plan and

        coordinate Jerri's eventual mesh removal in Orlando, Florida, and even helped plan

        and coordinate Jerri's travel to the state of Florida.

    25. Defendant Women's Health and Surgery is a medical provider that provides medical

        services to residents of Arkansas. In fact, Women's Health and Surgery provided

        medical services to Jerri, a resident of Arkansas. Likewise, based upon information

        and belief, Women's Health and Surgery, in coordination with Surgical Assistance, Mr.




2 See In Re, American Medical Systems, 2:212-md-02325, Brief in Support of Motion to Quash ECF Doc.
No. 2206 at 3 (S.D. West Virginia 2017) (stating that Law Firm Headquarters "...has provided traditional
legal support services to [Alpha Law and Mcsweeney/Langevin] separately, as the agent of each.
Pursuant to separate agreements with each of the Law Firms, [Law Firm Headquarters] provided
marketing assistance, prospective client screening, assistance with due diligence on daim validity, client
care services, and data management, among other services. The Law Firms instructed and supervised
these functions on the Law Firm's behalf." See also Id. at 12 (stating that Law Firm Headquarters "served
as an agent in communicating with clients and prospective clients ..." on behalf of lawfirms).

First Amended Complaint                             6
Plummer v. Mcsweeney, et. al
           Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 7 of 43




        Barber, and Law Firm Headquarters, helped plan, coordinate, arrange, and even fund

        Jerri's travel from Arkansas to Florida for her operation.

    26. Defendant Kasia Osanzinska, M.D., and Whitney Shoemaker, D.O., are medical care

        providers in the state of Florida. They treat residents of Arkansas, and in fact treated

        Jerri, a resident of Arkansas. Based upon information and belief, Kasia Osanzinska,

        M.D., and Whitney Shoemaker, D.O., also participated in the conspiracy to bring Jerri

        to Florida in order to have the mesh removed without it being medically necessary.

    27. Thus, all the Defendants have minimum contacts with the state of Arkansas and this

        cause of action is directly related to those contacts. Therefore, personal jurisdiction

        is proper in this Court

    28. This Court also has jurisdiction over the subject matter pursuant to 28 U.S.C. § 1332.

    29. Venue is also proper in this Court as this case was removed to this Court



                                  FACTUAL ALLEGATIONS

    30. Jerri never graduated high school and has very little education. This fact left Jerri

       vulnerable to the fraudulent, evil, and unconscionable acts of many in this case.

    31. On June 13, 2008, Jerri underwent a transvaginal mesh tape operation where Boston

       Scientific transvaginal tape was implanted in her body. This procedure took place at

       Saline Memorial Hospital in Benton, Arkansas, under the care and guidance of Dr.

       David Caldwell, M.D., a local board certified OBGYN.

    32. At some point thereafter it was discovered that the vaginal tape or mesh that was

       implanted in Jerri was possibly defective.




First Amended Complaint                        7
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 8 of 43




    33. Based upon information and belief, Vincent Chhabra, Michael Chhabra, Diane

        Sugimoto, and Ron Lasorsa violated HIPPA laws and discovered that Jerri had

        possibly defective Boston Scientific tape implanted in her.

    34. Subsequently, Law Firm Headquarters, or more likely its offshore call center in India,

        at the direction of Vincent Chhabra, Michael Chhabra, Diane Sugimoto and Ron

        Lasorsa, cold called Jerri in late October of 2014 acting under the guise of "Medical

        Associates" and encouraged Jerri to hire attorneys and pursue a claim against Boston

        Scientific for the potentially defective transvaginal mesh. Several calls like this took

        place thereafter. All of the later calls occurred in November 2014. Some of the later

        calls involved the Defendant Surgical Assistance acting under Defendant Mr. Barber.

    35. In these calls, rather than advising Jerri of the truth, which was that her transvaginal

        mesh was potentially defective, they purposely lied and asserted to Jerri that her

        mesh was absolutely defective, and that if she did not have it removed it could

       potentially kill her. They also advised Jerri that she could make a great sum of money

       in pursuing a claim against Boston Scientific through one of their partner attorneys.

       Likewise, they lied and advised Jerri that she would need to have the mesh removed

       by a physician in Florida because no other physician close to Jerri performed such an

       operation.

   36. Jerri, believing these false representations that her Boston Scientific transvaginal

       mesh was defective and could possibly kill her, agreed to allow the callers to refer her

       to a lawyer and medical provider.

   37. The entire reason that these entities lied to Jerri about the necessity of her mesh

       removal was because if she had the mesh removed her case would be more valuable


First Amended Complaint                        8
Plummer v. Mcsweeney, et. al
            Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 9 of 43




         to Vincent Chhabra, Michael Chhabra, Diane Sugimoto, Ron Lasorsa, Rhett

         Mcsweeney,        David     Langevin,      Richard      Martindale,      Alpha     Law,      and

         Mcsweeney/Langevin. Also, if Jerri had the operation through these entities, Surgical

        Assistance and Mr. Barber would receive a kickback from the medical providers in

         Florida.

    38. Likewise, they lied to Jerri about the need to go to Florida because the Chhabra's,

        Diane Sugimoto, and Ron Lasorsa, through Surgical Assistance and Mr. Barber, had a

        relationship and an understanding with Women's Health and Surgery in which they

        knew that Women's Health and Surgery and its physicians would perform the mesh

        removal without regard to whether the removal was medically prudent or necessary.

        In exchange, Law Firm Headquarters, through lies and fraud, would convince women

        like Jerri that they needed to obtain loans in order to pay the full amount of the billing

        to Women's Health and Surgery rather than submitting a claim through insurance,

        Medicare, or Medicaid.3

    39. Further, the Chhabra's, Diane Sugimoto, Ron Lasorsa, Mcsweeney/Langevin, Alpha

        Law, Women's Health and Surgery, Surgical Assistance, and Mr. Barber had a

        relationship with LawCash whereby they would put any ethical and professional

        judgment aside and arrange and coordinate for their clients/patients to secure




3 This allowed Women's Health and Surgery to charge significantly more for its services and facilities. In
Jerri's case, Jerri paid approximately $21,000 for the procedure to Women's Health and Surgery, when it
would have cost between approximately $589.35 and $993.33 had the procedure been processed through
Jerri's Medicaid. Likewise, based upon information and belief, Defendant Shoemaker was individually
paid around $3,500 for the procedure from Women's Health and Surgery, whereas she would have only
been paid approximately $500 had the procedure been processed through Jerri's Medicaid.

First Amended Complaint                             9
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 10 of 43




        funding from LawCash at staggeringly high interest rates (43% per annum in Jerri's

        case) secured on their claims against Boston Scientific.

    40. LawCash or its agents, after gaining a referral of susceptible prey for its

        unconscionable and usurious 4 lending practices, would give Mr. Barber and Surgical

        Assistance a referral fee.

    41. Besides Mr. Barber's kickbacks, the Chhabra's, Diane Sugimoto, Ron Lasorsa,

        Mcsweeney/Langevin, Alpha Law, and Women's Health and Surgery's purpose

        behind this referral program with LawCash was to obtain money to ensure Women's

        Health and Surgery could be paid the exorbitant full extent of its billing so that its

        physicians would continue to perform unnecessary procedures, thus increasing the

        value of the cases of all associated with Alpha law and Mcsweeney/Langevin.

        LawCash's purpose was to make phenomenal sums of money by taking almost all of

        the client's/patient's share of her claim against Boston Scientific. LawCash knew it

        could do this because the lawyers representing the clients would not bring usury

        claims and would lie in stating they clearly explained the terms of the LawCash

        agreement to their client, when in fact they had not.

    42. This is exactly what occurred with Jerri. After Jerri fell for the lie that she must have

        her mesh removed, in face of her potential death, she consented to traveling to Florida

        and having the mesh removed at Women's Health and Surgery, allowing the callers to

       arrange it. Likewise, after believing the lie that she must go to Florida to have the

       mesh removed because no physician close to her could perform the procedure, Jerri


4A court in New York has specifically found LawCash's staggeringly high interest rates to be usurious
under New York Law. 1. See Echeverria v. Estate ofLindner, 7Misc.3d1019(A), 801 N.Y.S.2d 233 (Sup. Ct.
2005), judgment entered sub nom. Echeverria v. Estate of Lindner (N.Y. Sup. Ct. Mar. 18, 2005).

First Amended Complaint                          10
Plummer v. Mcsweeney, et al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 11 of 43




         consented to having Law Firm Headquarters and Surgical Assistance arrange a loan

        with LawCash to pay for the operation. Jerri's loan with LawCash was for the full

        amount of the surgery with Women's Health and Surgery, $21,000.00 with an interest

        rate of approximately 43% per annum, and was secured by her claim against Boston

        Scientific. Based on information and belief, Defendant Mr. Barber and Surgical

        Assistance received a kick back from LawCash for successfully having Jerri agree to

        its malevolent lending agreement.

    43. Jerri's mesh removal surgery was scheduled for December 12, 2014, at Women's

        Health and Surgery in Clermont, Florida by Whitney Shoemaker, D.o.s This was

        scheduled by agents of Law Firm Headquarters in coordination with LawCash, Alpha

        Law, and Mcsweeney/Langevin.

    44. In fact, Jerri's legal case against Boston Scientific was initially referred to Alpha Law

        by Law Firm Headquarters. Alpha Law is a law firm organized by Defendant Richard

        Martindale and of which Defendant Michael Chhabra (CEO of Law Firm

        Headquarters) and Defendants Ron Lasorsa and Diane Sugimoto were members, with

        Michael being the majority owner. LawCash also had a representative hold an

        ownership stake in Alpha Law to ensure that their investments were safeguarded and

        that no one challenged their usurious practice. However, by November 14, 2014,

        Jerri's claim was assigned to Mcsweeney/Langevin, and Mcsweeney/Langevin was

        aware of this assignment.




s Jerri's pre-surgical clearance records report that she was seen at Women's Health and Surgery. Her
operative note states that the operation took place at Clermont Ambulatory Surgical Center, but all of the
billing for the surgery was billed through Defendant Women's Health and Surgery.

First Amended Complaint                            11
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 12 of 43




    45. By November 14, 2014, Mcsweeney/Langevin, Rhett Mcsweeney, and David

        Langevin were aware that Jerri was going to have an operation removing her mesh at

        Women's Health and Surgery, and that LawCash would be funding the entire cost of

        the procedure without anything being billed to insurance, Medicaid, or Medicare.

    46. Likewise, by December 4, 2014, Mcsweeney/Langevin, Rhett Mcsweeney, and David

        Langevin knew that the LawCash funding agreement required an attorney to

        acknowledge that they received a copy of the LawCash agreement and that they read

        it to and "explained the terms to [their client]."

    47. Jerri signed a written contract with Mcsweeney/Langevin and Alpha Law on

        December 8, 2017. Jerri agreed to the contract, which stated she would pay an

        attorneys fee of 45%, plus costs, and even interest on the cost. This is a staggering

        fee. Likewise, the contract stipulated that Jerri would allow disputes to be handled

       by arbitration in Washington, D.C. Jerri did not and does not have the money to travel

       to Washington, D.C., much less fund an arbitration. Jerri did not consult with outside

       counsel about entering into this agreement, and Mcsweeney/Langevin gave her no

       disclosures about the risks and cost of arbitration.      Additionally, the contract

       attempted to limit Mcsweeney/Langevin's liability prospectively, which is a clear

       violation of the Model Rules of Professional conduct since they did not make Jerri

       receive advice from outside counsel.

   48. Jerri's operation took place on December 12, 2014, after she had signed both a letter

       of protection in favor of Women's Health and Surgery, and the LawCash funding

       agreement.     However, Jerri signed both documents without first consulting an

       attorney. This was due to the fact that no one from Mcsweeney/Langevin contacted


First Amended Complaint                        12
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 13 of 43




        Jerri about the LawCash agreement or about the surgery, even though they were

        aware in November that Jerri would be having the surgery and that the procedure

        was to be funded by LawCash.

    49. David Langevin signed the LawCash "attorney acknowledgement" for Jerri on

        December 5, 2014 - three days after Jerri had the operation done. Langevin signed

        the document stating he had explained the terms of the LawCash agreement to Jerri,

        when in fact no explanation ever took place.

    50. Based upon information and belief, LawCash did not pay for Jerri's operation until

        David Langevin signed this form. In other words, Jerri had already been operated on,

        and when there was no need to secure the funding, Langvin signed a form securing

        the funding. It is clear that David Langevin did this to keep his conspiratorial

        relationship viable with both the doctors and LawCash. In fact, Langevin has a long

        history of signing LawCash agreements after his clients had had surgeries done in

        order to keep everyone in the money-making scheme happy.

    51. Moreover, contrary to Jerri's best interest, she had the operation done with little to

        no diagnostic testing by Shoemaker or Women's Health and Surgery.

    52. In fact, the only testing that appears to have taken place was making sure Jerri was

       cleared for surgery. There was no testing whatsoever that occurred for the purpose

       of determining whether surgery was in Jerri's best interest. Jerri's surgical clearance

       was performed on December 11, 2014 by a general surgeon, who was not a specialist

       in vaginal mesh/tape removal.

   53. In fact, the first time that Jerri talked to Defendant Shoemaker - the surgeon

       removing Jerri's tape - was in the operating room. This is because the conspiratorial


First Amended Complaint                      13
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 14 of 43




        relationship and agreement foreclosed the need to make sure the surgery was

        medically necessary.

    54. The fact that Jerri was made to travel to Florida is even more staggering considering

        the fact that she had an OBGYN physician in Arkansas that could have performed this

        operation - in the case that Jerri actually needed it done. Likewise, said physician

        could have performed the procedure by billing Medicaid rather than the full amount

        of the bill. But Jerri's physician in Arkansas had medical and professional ethics and

        was not a part of the Chhabra machine. This prevented anyone, even her attorneys

        with a strong fiduciary duty towards Jerri, from recommending that she not travel all

        the way to Florida to have the procedure done.

    55. Unsurprisingly, the removal surgery that she received has caused Jerri substantial

       medical problems. For example, she now has no bladder or bowel control. These

       issues did not exist prior to the operation to remove the mesh/tape.

    56. Based upon information and belief, it was against Jerri's best interest for the

       tape/mesh to be removed, and any reasonable doctor would not have proceeded with

       the operation.

    57. In short, it would have been in Jerri's best interest to see a local OBGYN to determine

       whether she needed the transvaginal mesh/tape removed. Instead, Jerri was told that

       Boston Scientific's tape/mesh was defective, was told if she did not get the mesh/tape

       removed she might die, and was convinced that she had to travel to a D.O. several

       states away, who then, in turn, performed an operation that was medically

       unnecessary at an exorbitant rate. Jerri's staggeringly high bills were paid off by

       Mcsweeney/Langevin securing a loan with LawCash. In securing the loan, David


First Amended Complaint                       14
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 15 of 43




        Langevin signed the LawCash document stating that he read Jerri the agreement,

        when in fact, he had no such conversation with Jerri.

                                        COUNT I: FRAUD

    58. The Plaintiff re-alleges and incorporates all of the allegations made in paragraphs 1-

        56 as set forth word-for-word.

    59. Defendants Law Firm Headquarters and Surgical Assistance, under the direction of

        Vincent Chhabra, Michael Chhabra, Diane Sugimoto, Ron Lasorsa, and Blake Barber

        fraudulently told Jerri that she needed to have her Boston Scientific mesh/tape

        removed or else she could die.

    60. This representation was a false representation of material fact, as Jerri would have

        been better off without having the mesh removed, and she certainly would not have

        died as a result of the mesh.

    61. Likewise, these representations were made without enough information to support

       them.     Law Firm Headquarters, Surgical Assistance, Vincent Chhabra, Michael

        Chhabra, Diane Sugimoto, Ron Lasorsa, and Blake Barber knew there was insufficient

       evidence to support these representations, as they knew they were not doctors and

       that no medical professional had evaluated Jerri's needs.

    62. These representations were made with the intent to induce Jerri into the surgery, as

       that was the entire goal of the many conspirators.

    63. Jerri reasonably relied upon these representations to her detriment, as she is now

       sufficiently worse after having the surgery.

   64. This fraud was an intentional and malicious act for which punitive damages should

       lie.


First Amended Complaint                      15
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 16 of 43




    65. The above-mentioned conduct also constitutes constructive fraud.

    66. Likewise, these representations were made by agents of Rhett Mcsweeney, David

        Langevin, Richard Martindale, Alpha Law, and Mcsweeney/Langevin within the

        course and scope of their agency and employment. Thus, Rhett Mcsweeney, David

        Langevin, Richard Martindale, Alpha Law, and McSweeney/Langevin should be

        vicariously liable for this fraud as well.


          COUNT II: CONSTRUCTIVE FRAQD AND BREACH OF FIDUCIARY DUTY
                      AGAINST SHOEMAKER AND OSADZINSl{A

    67. The Plaintiff incorporates, reasserts, and re-alleges all of her allegations as set forth

        in paragraphs 1-65 of her complaint.

    68. Defendants Osadzinska and Shoemaker both participated in what they called

        medical treatment of Jerri Plummer. Osadzinska did a pre-surgical clearance and

        Shoemaker performed the operation.

    69. Thus, they owed Jerri a fiduciary duty of loyalty, competence, and candor.

    70. By clearing Jerri for surgery, and actually performing the surgery, these Defendants

       made representations that the surgery was in Jerri's best interest when it indeed was

       not.

    71. Likewise, both Defendants knew that Jerri was paying an exorbitant rate for this

       surgery, and they knew that she could have obtained the surgery (if it was actually

       needed) with another physician by billing Medicaid. However, both Defendants said

       nothing to Jerri in an effort to deepen their pockets.

    72. Thus, these Defendants committed constructive fraud as well as a breach of their

       fiduciary duty toward their patient.


First Amended Complaint                         16
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 17 of 43




                    COUNT Ill; ATTORNEY PROFESSIONAL NEGLIGENCE

    73. The Plaintiff incorporates, re-alleges, and reasserts all allegations set forth in

        paragraphs 1-71 of her complaint.

    74. Rhett McSweeney, David Langevin, Richard Martindale, and their employees and

        agents, including Law Firm Headquarters and Surgical Assistance, were not medical

        experts, yet they were advising clients on medical matters. This was done out of pure

        greed, because if Jerri had the surgery, her case would be of greater value to these

        entities and individuals. Thus, Jerri was convinced to have the extraneous operation

        by agents oflawyers who were simply trying to cash a big check, without the slightest

        regard for their client's health and well-being. Moreover, Jerri was swindled into an

        agreement for a loan at a staggering 43% interest rate, again only to keep

        relationships alive between this group of health-abusing conspirators.

    75. First, a competent and reasonable attorney in the community would never have

       allowed their agents to refer Jerri to a physician several states away when she had an

       adequate physician in Arkansas, where she lived.         Likewise, a competent and

       reasonable attorney in the community would have advised their client against taking

       such an action once they had discovered what was happening, which Rhett

       Mcsweeney, David Langevin, and Mcsweeney/Langevin undoubtedly knew by

       November 14, 2014.          Yet here, Rhett Mcsweeney, David Langevin, and

       Mcsweeney/Langevin stood by and allowed Jerri to travel several states away to have

       an unneeded surgery at the hands of a known incompetent medical staff, all while




First Amended Complaint                      17
Plummer v. Mcsweeney, et. al
         Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 18 of 43




        paying for the exorbitant bill by taking out a secured loan at a staggeringly high

        interest rate.

    76. Jerri was able to go ahead with the surgery without truly appreciating if it was in her

        best interest This can be seen in the fact that they flew Jerri down to Florida to have

        the operation without firsfconducting any tests or screenings, and Jerri relied solely

        on the false representation that she needed to have the mesh removed. It can also be

        seen from the fact that Shoemaker and Women's Health and Surgery wanted to avoid

        billing it to Jerri's Medicaid, and thus prevent going through the review process, and

        instead opted to do a letter of protection. A competent and reasonable attorney

        would have advised Jerri against all of this, yet Rhett Mcsweeney, David Langevin, and

        Richard Martindale did nothing.

    77. Third, a competent and reasonable attorney would not have allowed their client to

        go into a physician that was charging the full contractual amount when their client

        had Medicaid that could have paid for the operation.

    78. Fourth, a competent and reasonable attorney certainly would not have referred and

       allowed their client to finance the surgery at a 43% interest rate - especially after the

       client already had the procedure done.

    79. All of Jerri's attorneys failed to act as reasonably competent attorneys in the

       community would act. Thus, Rhett Mcsweeney, David Langevin, Richard Martindale,

       Mcsweeney/Langevin, and Alpha Law breached their duty ofrepresentation to Jerri.

    80. Moreover, the breach of this duty actually and proximately caused damages to Jerri.

   81. These facts also show that Rhett Mcsweeney, David Langevin, Richard Martindale,

       Mcsweeney/Langevin, and Alpha Law all breached their fiduciary duty ofloyalty and


First Amended Complaint                       18
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 19 of 43




        competency to Jerri as well. This breach also actually and proximately caused Jerri

        substantial damages.

    82. Moreover, all of the Defendants mentioned in this count should have known that the

        natural and probable result of their egregious actions herein complained of would be

        severe personal injury to Jerri, yet they acted in a willful and wanton manner in a

        disregard to Jerri's health and well-being. Thus, punitive damages should lie.

                               COUNT IV: CIVIL CONSPIRACY

    83. The Plaintiff incorporates, re-alleges, and reasserts all of her allegations in

        paragraphs 1-81 of her complaint.

    84. Here, there was a combination of persons, including Rhett Mcsweeney, David

        Langevin, Richard Martindale, Whitney Shoemaker, Vincent Chhabra, Michael

        Chhabra, Ron Lasorsa, Diane Sugimoto, Blake Barber, Surgical Assistance, Law Firm

        Headquarters, Alpha Law, Mcsweeney/Langevin, and Women's Health and Surgery

       who had a referral agreement that was immoral and oppressive to the client/patient,

       in order to make their respective pockets much deeper. Likewise, convincing Jerri

       that she needed surgery was done in an immoral and oppressive way.

    85. Thus, all of the Defendants have committed the tort of civil conspiracy that actually

       and proximately caused severe damages to Jerri.

   86. Moreover, this conspiracy is an intentional act without regard to the health and well-

       being of others. Likewise, all of the named Defendants in this count knew, or should

       have known, that the natural and probable result of their actions would be severe

       personal injury. However, they acted willfully and wantonly in a reckless disregard.

       Thus, punitive damages should lie.


First Amended Complaint                      19
Plummer v. McSweeney, et. al
         Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 20 of 43




    87. Judgment against all conspirators should be rendered jointly and severally.



       COUNT V; VIOLATIONS OF ARKANSAS DECEPTIVE TRADE PRACTICES ACT

    88. The Plaintiff incorporates, re-alleges, and reasserts all of her allegations in

        paragraphs 1-86 of her complaint.

    89. The actions of all of the Defendants, save Boston Scientific, also violate Ark. Code

        Ann.§ 4-88-107(8) and (10). This is because it is a deceptive and unconscionable

        trade practice to convince a woman, who is in a compromised position due to a lack

        of education, that she needs to have surgery without any prescreening, and then

        proceed to charge her the full amount of the billing rather than submitting the claim

        to Medicaid. All of the Defendants or their agents, acting within the course and scope

        of their agency, were involved in this deception.

    90. These violations to the Arkansas Deceptive Trade Practices Act caused substantial

        damages to Jerri.

    91. Likewise, Jerri should be awarded reasonable attorney's fees for her prosecution of

       this action under the Arkansas Deceptive Trade Practices act.

          COUNT IV: PROFESSIONAL NEGLIGENCE AGAINST SHOEMAKER AND
                                 OSADZINSKA

    92. The Plaintiff incorporates, re-alleges, and reasserts all of her allegations in

       paragraphs 1-90 of her complaint.

   93. A reasonable and competent physician in the community would not have

       recommended the mesh removal surgery for Jerri, nor would they have cleared Jerri

       for such surgery.

   94. Both Defendants Shoemaker and Osadzinska breached this duty to Jerri.

First Amended Complaint                       20
Plummer v. Mcsweeney, et. al
          Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 21 of 43




    95. This action would have been brought at an earlier time, and within the applicable

        two-year statute oflimitations for medical injury, but the wrongfulness of Shoemaker

        and Osadzinska's actions were fraudulently concealed not only by false

        representations made by both Defendants that the surgery was needed, but also by

        the false representations made by agents acting on the Defendants' behalf that Jerri

        needed the surgery or could face death. Only in the last few months did Jerri discover

        these falsehoods. That is a reasonable amount of time to make such a discovery

        considering Jerri's lack of education, the extent of the conspiratorial lies, and other

        circumstances.

         COUNT VII; UNJUST ENRICHMENT BY SHOEMAKER. WOMEN'S HEALTH
            AND SURGERY. BLAKE BARBER. AND SURGICAL ASSISTANCE

    96. The Plaintiff incorporates, re-alleges, and reasserts all of her allegations set forth in

        paragraphs 1-98.

    97. Based upon information and belief, Defendants Shoemaker and Women's Health and

       Surgery made a substantial amount of money helping in the events that caused Jerri

       to have the extraneous surgery. Even if Jerri needed to have such a surgery, they

       made too much money because they could have billed Jerri's Medicaid. There was no

       reason for Jerri's Medicaid not to have been charged.

    98. Likewise, based upon information and belief, Defendants Barber and Surgical

       Assistance made a profit due to their fraudulent behavior by getting a kick back from

       Women's Health and Surgery and/or Shoemaker.

   99. Thus, it is clear that Defendants Shoemaker, Women's Health and Surgery, Blake

       Barber, and Surgical Assistance have been unjustly enriched as equity, morality, and

       good conscience dictate that they not be able to retain the money made as a product
First Amended Complaint                        21
Plummer v. Mcsweeney, et. al
           Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 22 of 43




        of their fraudulent actions in convincing Jerri to have done an unneeded surgery, and

        certainly not keep money in excess of what Medicaid would have charged.

           COUNT VIII: DECLARATORY RELIEF AGAINST MCSWEENEX/LANGEVIN
                                 AND ALPHA LAW

    100.        Plaintiff incorporates, re-alleges, and reasserts all of her allegations in

        paragraphs 1-98 of her complaint.

    101.       The Court should declare that Jerri's contract with Alpha Law and

        Mcsweeney/Langevin is not valid as it was not entered into by all parties, as

        Mcsweeney /Langevin nor Alpha law signed the contract. Alternatively, the contract

        is void in its entirety due to lack of mutuality, fraud, unconscionability, and undue

        influence.

    102.       Likewise, the Court should declare that the arbitration and mediation

        provision in the contract is null and void due to the fact that neither

        Mcsweeney/Langevin nor Alpha Law ever advised Jerri to get advice from outside

        counsel on these provisions. Additionally, no one from either Mcsweeney/Langevin

        or Alpha Law (who were supposed to be acting as Jerri's attorneys in a fiduciary

        capacity) made any attempt to explain to Jerri what these provisions entailed or

       meant. Likewise, Jerri should be excused from these provisions due to the doctrines

       ofunconscionability, unilateral mistake, and impossibility of performance.

    103.       This Court should also declare the choice of law provision in the contract as

       null and void, because the contract is null and void in its entirety, and also because

       D.C law has no reasonable relationship to the parties. Alpha Law's D.C. presence

       exists merely to allow fraudulent non-lawyers (i.e. Vincent Chhabra, Michael Chhabra,



First Amended Complaint                      22
Plummer v. Mcsweeney, et. al
           Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 23 of 43




        Diane Sugimoto, and Ron Lasorsa) to own a piece of the conspiratorial machine's

        theoretical pie (i.e. the cases they obtained by cold calling and lying).

    104.        Likewise, the Court should declare null and void any language in the contract

        that attempts to prospectively relieve the firms and attorneys therein from liability

        as a gross violation of public policy, as enshrined in the Arkansas Rules of Professional

        Conduct.

    105.       Since this count sounds in contract, the Plaintiff should be awarded a

        reasonable attorney fee.

                COUNT IX: DECLARATORY JUDGMENT AGAINST LAWCASH

    106.       The Plaintiff incorporates, re-alleges, and reasserts all of her allegations in

        paragraphs 1-104 of her complaint.

    107.       This Court should declare Jerri's contract with LawCash as null and void under

       the Arkansas Declaratory Judgment Act, because the contract was entered into under

       fraudulent representations by agents of LawCash, and because no attorney explained

       the provisions of the contract to Jerri - a material condition upon the contract's

       existence.

    108.       Likewise, in the alternative, the Court should declare that the contract with

       LawCash is usurious under both New York and Arkansas law.

    109.       Since this count sounds in contract, the Plaintiff should be awarded a

       reasonable attorney fee.



                                           DAMAGES




First Amended Complaint                        23
Plummer v. Mcsweeney, et. al
           Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 24 of 43




    110.        The actions and/or inactions of all of the Defendants acting alone and jointly

        proximately caused the damages, injuries, and enhanced injuries. Plaintiff seeks

        compensation for the following elements of damage under Arkansas Law:

            (a) Excruciating pain and suffering;
            (b) Mental anguish and distress;
            (c) Past and future medical expenses;
            (d) Disfigurement;
            (e) Past and future loss of earnings and earning capacity;
            (fJ Loss of household services;
            (g) Unjust enrichment6;
            (h) Punitive damages;
            (i) A reasonable attorneys fee;
            (j) Her costs; and
            (k) All other general and special damages to which she is entitled to under
                Arkansas law.

        Jerri does not yet know the measure of her damages, but she believes them to be in

        excess of Five Million Dollars ($5,000,000.00) in compensatory damages and Ten

        Million Dollars ($10,000,000.00) in punitive damages.

                                     RIGHT TO AMEND

    111.       The Plaintiff believes she is at the punishing end of a deep and multi-faceted

        conspiracy designed to benefit at her expense. While there has been diligent research

       put forth to date in hopes of uncovering this conspiracy, the Plaintiff believes she has

       yet to uncover all of the actors involved.

    112.       Thus, actors involved with the actions and inactions herein complained of

       should take notice that if they were not named in this complaint, it was by mistake

       within the meaning of Rule 15 of the Arkansas Rules of Civil Procedure.




6This element of damages is sought solely from Defendant Shoemaker, Women's Health and Surgery,
Blake Barber, and Surgical Assistance.

First Amended Complaint                       24
Plummer v. Mcsweeney, et. al
           Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 25 of 43




    113.        Further, the Plaintiff has named John Does 1-99 as Defendants and reserves

        the right to amend and add these Defendants once their identities become known.

        Again, their identities remain unknown despite diligent inquiry as set forth in the

        affidavit of counsel - please see attached as Exhibit A.

        WHEREFORE, Plaintiff, Jerri Plummer, prays that she be awarded judgment as set

forth above, jointly and severally, in an amount to be determined by the Court, but in an

amount greater than that required for federal diversity jurisdictional purposes; her costs

herein including a reasonable attorney's fee; and all other just and proper relief to which she

may be entitled.



        Dated this 6th Day of February, 2018.



                                                     RESPECTFULLY SUBMITTED,




                                                     Email: raybaxterpa@gmail.com
                                            And
                                                     George D. "Bucky" Ellis, Ark Bar No. 72035
                                                     126 N. Main Street
                                                     Benton, AR 72015
                                                     PH:    501-315-1000
                                                     FX:    501-315-4222
                                                     Email: gellisinbenton@swbell.net




First Amended Complaint                         25
Plummer v. Mcsweeney, et. al
         Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 26 of 43




                                 CERTIFICATE OF SERVICE

       I, do hereby certify that a copy of the foregoing will be served on all counsel of

record via this Court's CM/ECF system contemporaneously with its filing.




First Amended Complaint                      26
Plummer v. Mcsweeney, et al
       Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 27 of 43




Excerpts from ALI Principles of the Law of Family Dissolution
Domestic Partners

§ 6.03 Determination That Persons Are Domestic Partners

    (1) For the purpose of defining relationships to which this Chapter applies, domestic
   partners are two persons of the same or opposite sex, not married to one another, who for
   a significant period of time share a primary residence and a life together as a couple.

   (2) Persons are domestic partners when they have maintained a common household, as
   defined in Paragraph (4), with their common child, as defined in Paragraph (5), for a
   continuous period that equals or exceeds a duration, called the cohabitation parenting
   period, set in a rule of statewide application.

   (3) Persons not related by blood or adoption are presumed to be domestic partners when
   they have maintained a common household, as defined in Paragraph (4), for a continuous
   period that equals or exceeds a duration, called the cohabitation period, set in a rule of
   statewide application. The presumption is rebuttable by evidence that the parties did not
   share life together as a couple, as defined by Paragraph (7).

   (4) Persons maintain a common household when they share a primary residence only with
   each other and family members; or when, if they share a household with other unrelated
   persons, they act jointly, rather than as individuals, with respect to management of the
   household.

   (5) Persons have a common child when each is either the child's legal parent or parent by
   estoppel, as defined by § 2.03.

   (6) When the requirements of Paragraph (2) or (3) are not satisfied, a person asserting a
   claim under this Chapter bears the burden of proving that for a significant period of time
   the parties shared a primary residence and a life together as a couple, as defined in
   Paragraph {7). Whether a period of time is significant is determined in light of all the
   Paragraph (7) circumstances of the parties' relationship and, particularly, the extent to
   which those circumstances wrought change in the life of one or both parties.

   (7) Whether persons share a life together as a couple is determined by reference to all the
   circumstances, including:
          (a) the oral or written statements or promises made to one another, or
          representations jointly made to third parties, regarding their relationship;
          (b) the extent to which the parties intermingled their finances;
          (c) the extent to which their relationship fostered the parties' economic
          interdependence, or the economic dependence of one party upon the other;
          (d) the extent to which the parties engaged in conduct and assumed specialized or
          collaborative roles in furtherance of their life together;
        Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 28 of 43




           (e) the extent to which the relationship wrought change in the life of either or both
           parties;
           (f) the extent to which the parties acknowledged responsibilities to each other, as by
           naming the other the beneficiary of life insurance or of a testamentary instrument,
           or as eligible to receive benefits under an employee-benefit plan;
           (g) the extent to which the parties' relationship was treated by the parties as
           qualitatively distinct from the relationship either party had with any other person;
           (h) the emotional or physical intimacy of the parties' relationship;
           (i) the parties' community reputation as a couple;
           U) the parties' participation in a commitment ceremony or registration as a domestic
           partnership;
           (k) the parties' participation in a void or voidable marriage that, under applicable
           law, does not give rise to the economic incidents of marriage;
           (I) the parties' procreation of, adoption of, or joint assumption of parental functions
           toward a child;
           {m) the parties' maintenance of a common household, as defined by Paragraph (4).

§ 6.04 Domestic-Partnership Property Defined

    (1) Except as provided in Paragraph (3) of this section, property is domestic-partnership
    property if it would be marital property under Chapter 4, had the domestic partners been
    married to one another during the domestic-partnership period.

   (2) The domestic-partnership period
           (a) starts when the domestic partners began sharing a primary residence, unless
           either partner shows that the parties did not begin sharing life together as a couple
           until a later date, in which case the domestic-partnership period starts on that later
           date, and
           (b) ends when the parties ceased sharing a primary residence.
   For the purpose of this Paragraph, parties who are the biological parents of a common child
   began sharing life together as a couple no later than the date on which their common child
   was conceived.

   (3) Property that would be recharacterized as marital property under§ 4.12 if the parties
   had been married is not domestic-partnership property.

§ 6.05 Allocation of Domestic-Partnership Property
    Domestic-partnership property should be divided according to the principles set forth for
    the division of marital property in § 4.09 and § 4.10.

§ 6.06 Compensatory Payments
     (1) Except as otherwise provided in this section,
            (a) a domestic partner is entitled to compensatory payments on the same basis as a
            spouse under Chapter 5, and
   Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 29 of 43




       (b} wherever a rule implementing a Chapter 5 principle makes the duration of the
       marriage a relevant factor, the application of that principle in this Chapter should
       instead employ the duration of the domestic-partnership period, as defined in§.
       6.04(2).

(2) No claim arises under this section against a domestic partner who is neither a legal
parent nor a parent by estoppel (as defined in § 2.03) of a child whose care provides the
basis of the claim.
Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 30 of 43




               EXHIBIT A
                   Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 31 of 43


DocuSign Envelope ID: OBBFCD81-3125-490C-B101-217166965A77




                               CONTJNGENCXFEERETAINERAGREEMENT
               . Contingency
            Th is    .       Fee Retamer
                                     . A greement is
                                                  . made by _
                                                            Jerri
                                                              __  Plummer
                                                                    _ _ _ _ _ _ _ _ _ __
            ("Client") who desires to retain Alpha Law LLP ('~Alpha''), a law firm organized under the laws
            of the District of Columbia as a limited liability partnership, and Mcsweeney/Langevin LLC
            ("Mcsweeney"), together referred to as "Counsel".

           I.    SCOPE OF SERVICES
                      A. Client agrees to retain Counsel as its attomey(s)-in-fact in Client's matter regarding
                         liability I personal injury I or wrongful death claim against the manufacturers and/or
                         distributors of a Trans-Vaginal Mesh ("TVM Case").

                     B. Counsel's representation of client is limited to recovering damages or other
                        compensatory property or services for Client in Client's specific TVM Case.

                     C. Client represents and warrants as a matter of fact that he/she has not tiled and
                        resolved a TVM Case (whether by settlement, judgment, trial, or abandonment), and
                        is not currently represented by another law fmn(s) in prosecuting any TVM Case.
                        Client further understands that Counsel is entering into this Agreement in specific
                        and general reliance on the foregoing representation of fact.

          Il.    LEGAL FEES AND COSTS
                     A. Contingent Fee: Client hereby agrees to pay Counsel, jointly, a contingent fee of
                        forty percent (40%) of the Gross Recovery to Client if the case is resolved prior to
                        filing the lawsuit; and shall be forty-five (45%) of the Gross Recovery to Client
                        thereafter. "Gross Recovery'' is calculated as the value of all moneys, services or
                        remedial conduct recovered for the client, regardless of how characterized (e.g.,
                        whether characterized as damages, injunctive relief; constructive trust, monitoring
                        services, remediation, revision surgery, restitution, offset, reimbursement, or
                        attorneys' fees). Gross Recovery is calculated separately and shall be deducted from
                        the total amount apart from the costs that are deducted. "Contingent Fee" in this
                        Agreement means that IF THERE IS NO RECOVERY, NO ATTORNEY FEE
                         WILL BE PAID AND NO COSTS OR EXPENSES WILL BE CHARGED.
                     B. Costs and Expenses: Counsel wilJ likely incur various costs and expenses in
                        performing legal services under this Agreement. Costs and expenses shall include,
                        but are not limited to, litigation expenses such as filing fees, service fees,
                        depositions, mediation and/or arbitration fees, expert and lay witness fees,
                        investigative services, costs of obtaining and copying medical records and reports,
                        cost of trial exhibits, outside legal fees and costs incurred for estate, guardianship,
                        bankruptcy and probate ·matters, and all other costs and expenses necessary for
                        adequate performance of legal services on Client's behalf. Costs shall also include
                        but not be limited to administrative costs such as photocopies, facsimiles, local and
                        long-distance telephone calls, postage fees and other overnight delivery service
                        charges; reasonable interest on all expenses that are advanced (not to exceed the
                        "prime" rate published in the Wall Street Journal); and travel costs such as out-of-


                                                             1
                   Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 32 of 43


DocuSign Envelope ID: OBBFC081-3125-490C-B101-217166965A77




                          town hotel, food and transportation. In the event of a recovery, Client agrees to pay
                          in full, or reimburse Counsel in full for advancing any and all costs, disbursements
                          and/or expenses paid, owed by you, or incurred by Counsel on Client's behaJf in
                          connection with this matter, including any interest accrued as a result of advancing
                          costs, disbursements and/or expenses paid. The advancement of costs and expenses
                          is not required but is discretionary on Counsel's part. COSTS AND EXPENSES
                          WILL BE DEDUCTED FROM ANY RECOVERY SEPARATELY FROM,
                          AND IN ADDmON TO, ATTORNEYS' FEES BUT WILL NOT BE
                          CHARGED IF THERE IS NO RECOVERY.
                      C. Alternative Fee Arrangement. Client understands and acknowledges that he/she
                         may choose to pay Counsel an hourly, rather than a contingency fee. Client also
                         understands and acknowledges that he/she can choose to advance the costs and
                         expenses listed in Section II.B. above, in lieu of incurring any interest associated
                         with those costs and expenses. By signing this Agreement Client waives the
                         alternative of an hourly fee payment option and also waives the advancement of
                         costs and expenses to avoid any interest payments. Client understands that he/she has
                         the right to contact Counsel prior to signing this Agreement to discuss any alternate
                         fee arrangement, whether it is specifically set forth herein or not.

                     D. Reimbursement Pro Rata or General Costs: Costs shall also include general
                         product liability/personal injury litigation costs and expenses incurred by Counsel.
                         General product liability litigation costs and expenses shall include, but are not
                         limited to, any costs which are not incurred solely for the benefit of, or as a result of
                         Client's TVM Case, but which are incurred for the benefit of all litigation cases in
                         which Counsel are retained or are counsel of record. To the extent such are incurred,
                        Client agrees to pay a pro rata share of aJI such costs incurred prior to the receipt of
                        proceeds :from defendants by way of settlement or satisfaction of a judgment.
                        Client's pro rata. share shaH be determined by dividing the gross proceeds of any
                        settlement or satisfaction of judgment to be received by all clients, by the total gross
                        settlement proceeds of all product liability/personal injury or wrongful death
                        litigation in which Counsel are retained or are counsel of record, and multiplying that
                        fraction by the total of all general product liability/personal injury litigation costs
                        incurred as of the date monies are distributed from the settlement, or satisfaction of
                        judgment regarding Client's claim.

                     E. Federal MDL or Coordination or State Coordination Fees: In the event there is a
                        court ordered assessment or agreement for fees and costs to be paid to any current or
                        future Federal Multi-district Litigation (MDL) or Federal coordinated proceedings or
                        any State Court coordinated proceedings, this fee and/or cost agreement/assessment,
                        which typicaJly ranges from 6% to 9% of the gross proceeds, will be deducted
                        pursuant to the order of the Court, from Client's share of the recovery and will
                        not affect the fees and costs to be paid or reimbursed to Counsel. At this time,
                        Counsel cannot determine what fees and costs, if any, will be paid to any of the
                        coordinated litigations.




                                                              2
                   Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 33 of 43


DocuSlgn Envelope ID: OBBFCD81-3125-490C-B101-217166965A77




         m.       NO MEDICAL MALPRACTICE CLAIMS
                 Client hereby warrants, acknowledge and agrees that Counsel has not been retained to
                 investigate any allegations of medical malpractice and will not pursue any claims of any
                 nature whatsoever against any of Client's healthcare providers under this Agreement. Client
                 understand that Counsel have not and will not provide Client with any legal advice
                 regarding commencing or foregoing the opportunity to bring suit any legal action, if any
                 legal action exists against Client's healthcare providers

         IV.     MEDICAL EXPENSES
                      A. If Client's claim includes reimbursement for medical expenses incurred in treating
                         the injury, which is the basis of this claim, Client may, by contract or statute, be
                         required to repay to the party who paid the medical expenses part or all of those
                         amounts (i.e. subrogation). This is Client's obligation, and such repayment, if any,
                         shall be Client's responsibility and shall be paid out of Client's settlement proceeds.

                     B. If a dispute arises between Client and a subrogee or lien holder and the Counsel has
                        notice of such dispute, Client agrees to allow Counsel to hold the maximum amount
                        being claimed in an escrow account until such dispute has been resolved. Counsel is
                        authorized to attempt to negotiate a reduction of such liens or to retain a legal
                        specialist to negotiate a reduction, which shall be a reimbursable cost of litigation.
                        Payments for all such known and/or negotiated liens shall be made by Counsel out of
                        any recovery, and shall be deducted after attorneys' fees and costs have been
                        deducted.

          V.     FILING SUIT & STATUTE OF LIMITATIONS
                     A. Discretion to File Suit. Counsel is hereby authorized to bring suit when and in any
                          matter Counsel deems advisable that does not prejudice Client's rights.

                     B. Statute of Limitations. Client may be precluded from filing a claim based upon the
                        running of the statute of limitations, depending on the Client's state of residence, the
                        location of the litigation, and other factors. Client acknowledges that Counsel cannot
                        determine whether Client's statute oflimitations has run until complete investigation
                        is concluded after Counsel receives all of Client's medical records. Client hereby
                        waives any and all complaints, grievances, claims and causes of action against
                        Counsel for failing to file suit prior to the running of Client's statute of limitations
                        unless Client's statute of limitations is scheduled to run on or after the 61 st day after
                        Counsel receives Client's complete, certified file. IF CLIENT BELIEVES THAT
                         IT MAY SOON HA VE A CLAIM PRECLUDED BY THE STATUTE OF
                         UMITATIONS, CUENT IS INSTRUCTED TO CALL COUNSEL
                         IMMEDIATELY TO DISCUSS SAME BEFORE SIGNING THIS AGREEMENT
                         AND TO ONLY SIGN THIS AGREEMENT UPON APPROVAL OF COUNSEL.




                                                              3
                   Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 34 of 43

DocuSlgn Envelope ID: OBBFCD81-3125-490C-8101-217166965A77




         VI.      ATTORNEY'S AUTHORITY & POWER OF ATTORNEY
                      A. In connection with the claims covered by this Agreement, Client hereby appoints
                         Counsel as its attorney-in-fact with power of attorney and all necessary authority to
                         execute and endorse any and all orders and other papers which Client could properly
                         execute or endorse, to receive on Client's behalf any monies or other things of value
                         to which Client may be entitled because of any judgment recovered or any settlement
                         received, and to endorse and /or execute on Client's behalf any checks or drafts
                         issued or made in connection with Client's matter.

                      B. Client understands that Counsel will not settle any matter without Client's expressed
                         consent.

        VII.     ASSOCIATION AND PAYMENT OF OTHER ATTORNEYS
                 In connection with the claims covered by this Agreement, Client recognizes that Counsel
                 may associate with other attorneys and may enter into a contract in which Counsel may
                 agree to share fees and/or legal-related expenses with these other attorneys. This association
                 of other attorneys or legal professionals shall not increase the amount of attorney fees paid
                 by Client. Client also authorizes Counsel to reach an agreement with referring attorneys and
                 associated attorneys to share the attorneys' fees paid pursuant to agreement at the percentage
                 or hourly rate Counsel negotiates and agrees with such other attorneys. The precise amount
                 of total fees paid to each attorney will be set forth within the distribution statement(s)
                 prepared when Client's case is resolved, and Client agrees that at that time Client will
                 acknowledge said fee-sharing amounts and agree to them by Client's acceptance of the
                 terms of the distribution of Client's settlement or judgment proceeds. At this time, Alpha
                 and Mcsweeney have entered into an agreement to share the legal fees on the following
                 schedule: Alpha Law LLP: 85% and Mcsweeney/Langevin LLC: 15%.

      VDI.       ASSIGNMENT & LIEN
                Client hereby assigns Counsel an interest in Client's case, equal to the then-applicable
                contingency percentage, of Client's case, and irrevocably grants Counsel a lien on any and
                all proceeds from claims or causes of action that are subject to our or our related entities and
                affiliates representation under this Agreement. Counsel's lien will be for any sums owing to
                Counsel for any costs and interest or attorney fees at the conclusion of our services. The lien
                will automatically attach to any recovery Client may obtain by any of means such as
                arbitration award, judgment., appeal, settlement or otherwise.

        IX.     WITHDRAWAL/TERMINATION
                Counsel may withdraw from Client's representation at any time, upon reasonable written
                notice to Client at Client's last known address. If Client discharges Counsel, or if Counsel
                withdraws for cause, client agrees to pay Counsel a reasonable attorney fee and non-
                reimbursed costs. The attorneys' fee shall be, Counsel's option, either (a) an amount equal to
                the number of hours expended by Counsel multiplied by Counsel's rate of $475.00 per hour
                and administrative time expended at rates no more $95.00 per hour; or (b) a prorated portion
                of the contingent fee ultimately recovered based on relative contributions to the case
                Attorney and any successor law firm as determined by the law of quantum meruit.

                                                             4
                  Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 35 of 43

DocuSign Envelope ID: OBBFCD81-3125-4BOC-B101·217166965A77




          X.      DISCLAIMER OF GUARANTEE
                 Nothing in this Agreement and nothing in our written or verbal statements to Client are
                 intended to be, and shall not be construed as, a promise or guarantee regarding any outcome
                 of Client's matter. Counsel makes no promises or guarantees regarding Client's case and its
                 potential or expected outcome. There can be no assurance that Client will recover any sum
                 or sums in this matter. Any comments or statements by Counsel about the value of Client's
                 claims or the outcome of Client's matter are probabilistic expressions of Counsel's opinion
                 only and shall not be cons1rued as promises or guarantees regarding any resolution of
                 Client's case. Client hereby represents and warrants that Client is not relying any such
                 promise, representation of opinion in choosing to sign this Agreement.

         XL      AGGREGATE SETTLEMENTS
                 In certain cases the defendant or defendants in Client's TVM Case may attempt or be forced
                 to settle with multiple similarly situated plaintiffs. In such circumstances, there exists a
                 potential conflict of interest whenever a lawyer represents many individual plaintiffs in a
                 group settlement of this type because it necessitates choices concerning the allocation of
                 limited settlement amounts among the multiple plaintiffs. However, if all clients consent, a
                 group settlement can be accomplished and a single offer can be fairly distributed among the
                 clients by allocating settlement amounts to plaintiffs' individual cases based upon the
                 strengths and weaknesses of each case, the relative nature, severity and extent of injuries,
                 and individual case evaluations. In the event of a group or aggregate settlement proposal,
                 Counsel will work with an independent person or third party to implement a settlement
                 program/grid, overseen by an independent party, designed to ensure consistency and fairness
                 for all claimants, and which will assign various settlement values and amounts to each
                 plaintiff's case depending upon the facts and circumstances of each individual case. Client
                 hereby authorizes Counsel to enter into and engage in settlement discussions and
                 agreements. which may include Client's individual claims within a larger group settlement
                 effort. under the proviso that Client will .have ootion of opting out of that process should
                 Client choose to at a later juncture.

       XII.      GENERAL.
                     A. Freedom to Contract. Client understands that Client has the freedom to bargain for
                        and negotiate any of the terms of this Agreement or to consult with or retain any
                        attorneys of Client's choice.
                     B. Governing Law. Client understands that this Agreement shall be governed by and
                        construed in accordance with the laws of the District of Columbia, without regard to
                        the District of Columbia's choice of law rules.

                     C. Alternate Dispute Resolution. Client agrees that, in part to protect Client's own
                        confidentiality and privileged information, that Client and Counsel agree to resolve
                        any potential disputes via resort to confidential meditation within 60 days of such
                        dispute. Client and Counsel both agree that they will file no suit and/or grievance
                        with any public body or court, and that any statute of limitations shall be deemed
                        tolled pending said mediation. If the mediation process does not resolve the issue,

                                                             5
                    Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 36 of 43

OocuSign Envelope ID: OBBFCD81-3125-490C-B101-217166965A77




                          then Client and Counsel agree to submit their dispute to binding arbitration in
                          Washington D.C. before JAMS. CLIBNT HEREBY ACKNOWLEDGES THAT
                          ARBITRATION IS CLIENT'S ONLY RECOURSE AND THAT CLIENT
                          WAIVES CLIENT'S RIGHT TO TRIAL BY JURY AND TO JUDICIAL APPEAL
                          BY SIGNING TIIlS AGREEMENT. Client further waives any right to bring any
                          claim in a representative action or "class action." This clause alone shall be
                          construed under and consistent with the American Arbitration Act

                      D. Client and Counsel may sign this Agreement via electronic signature.

             ATTESTATION: "I REPRESENT THAT I HAVE READ AND FULLY UNDERSTAND
             THIS AGREEMENT, and voluntarily agree with all provisions. By signing this Agreement I
             acknowledge the above."


             Signed by CLIENT:                                    Alpha Law LLP:

              12/8/2014 I 4:14:58 PM ET
             Date                                                Date

              Jerri Plu11111er

             Print Client's Name                                 Print Name

             E-;:::.11r.
                C113DOCE5113DE~

             Client's Signature                                  By Firm Attorney


             Mcsweeney/Langevin LLC:



             Date



             Print Name



            By Firm Attorney




                                                             6
Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 37 of 43




               EXHIBIT B
                         Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 38 of 43
Oct 13 2017 03:43PM HP Fax                                                               page 6
                l.       ~..   .•   •        ..                                                                                 ..
                                                                                                                                ·



   DocuSign ErNelope ID: F4C778EB-2757-4A68-9631.0CDFB27CDAFC


                                           PLAINTIFJ'FlJMDING BOLDING JNC. J'UNDING AOREDIENT

           1bls      Pudlna:   Ap:cnlellr. ma& u or n-Drr 08, 2014, & bltWleiR lorn Pluolmct,              IOlidblc •   1222 o.,,. Line • Bcntoo,
           Artusu 1201s.. ~ relemc! 10 11 "1"). ad Pllinlift' Pmtdilla Holdlna Ille:. llavlae 111 priDclJ)al p11ce of b1lllnea at 26
           CoLirt s.-, lllh Floor, ~New Yorfc l 12Q.OOOO (llcaialfterniliiPtdtHI ("LAWCASJl").

                                                                          · llCITALS

           A. I llll cumatly atppd In a pmclina hp! claim aa.dlct llWlllit u I Nllllt or ~ ulsl111 out or I pellOllll                       .r)'
                                                                                                                                           c1aim
              ldmil ID u "Lawluft") or lltY aCher related ICdon wlddi          *'
              c1cdiaod a Jeni PJlllUICI' for 1D illcidelll lllat occwred DD or abolJf lllSIJY.IX!t, ar 1111 alhar nilated etlool. ~
                                                                                      hi*. wflholt limifarian,, a, lawnits or claims in wllloli J
              am umdng arr dpt ID nxl0911ZJ In my hlfuzy. whodicr it is aplmt fie dcttndmll llftMCI in 1he 1nsu111, or otbcn. llld
              lfNi1I klchc1C111.Yelaims I may orwlll lllve fbrtlic Jdndlina ormy ariafMI claim i r linrlllft.                                 .
           1    I .lilrta bllll .tftsed 1>y I.AWCASH • clitoall thit ..,... wflll my .naraey ...Uar tuc1i otlter lepl COllllllBI            af   1111 awn
                ~prlarto lipiJla lbll Apmllllll ad lhltl lmvcd1'1orm:ci:wd lllChcwmcl orCllJlR'llyWllYw it.

           C.   Yw ._. ldw..l mo           10 aaca all oC ~ a11anaii'° ID fimding my kmne6tc ~ _ . intor to aoeepli1la llli$
                . . . . . . . . . . LA.WCASR rs laJciaa. bJjb rflt ill .mas .IDCI lbia 1Udiat. I undmtln4 t!lat LAWCASH 11111 llllh I .....
                ,.St. Hawe-, U.WCASH will IM plll4 DDiy 6om the paceeds '1it die LIMuit. end llflll nat ID leek 11111ney &mm me
                iltslly ia'llloCMlll rbatdlo l.almlltllaat~. hrill., tllo ~ ld--4 tom.ftirlll)' llleneecll only.

           D. Thfs     1'llldflw ~ encl sll of ill ~ 1e1m1 Jina ti- Mt explained lo me. 111111 1111 qustlom tlllt 1 dpt hfte
                  dloat dlil biracilon kw beet fid'111plaiilec1 to ll10 in J!llllillt ar llCllothlf IUlpqe .... l iplt Nt.
           L I n:pacnt llial tllCl8 are DOpaadifll llX o11im1110l'lrl llllrc MJpcndiaJ lllrimlMI llleplfoa(1) orc;baspOI) . . - - .
           SSCl'JON L IULLDIBCLOSURE

                TOCll to be advanced to me under THJ8 agnemeat:                                    pt.ooo.eo
                Total to hi 1chaacecl C9 meander ALL~=                                             521.pgo.ao
                CaseMonfforing Fee (total of Ill faDdlilp):                                          mYl1
                AWllcldn Fee (tobl of all fandlnp):
                                                                                                      ~·
           TotaJ amount 10 flenp1lcl •:r • uader ALL agremientn




                                    Jfpapnen! II made OD l2/0'ZJ2Dlt5 u

                         ...
           • C111111r••lttltl"Pll'_................"',......
                ....,.. .,.,............
           .. 11111 11111t llllllM ....... dllN •If· llMll . . . , . _ nd .... 11.s ...,_ _, nlllct ...... ,.,... - a        ~        ........   LAWC\Sll




                                                                                                12/09/201~              2:50PM (GMT-05:00)
                    Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 39 of 43
Oct 13 2017 03:44PM HP Fax                                                                 page 7

                                           ·:                               ·,.                                                                              ...

   DoaJSlgn Envelope ID: F4C77SEll-2757-4A66-S631-0CDFB27CDAFC


           SECnON 2. RJNDING A.ND REPAYMB!llT TERMS

              l. Ill comidcnlion h die receipt of 1lle sum        err lWIDtY.ont lbomlnd and n           I 100 dot1M ($21,000,00) b          LAWCASH. I
                                                                  aw-.
                  11111 Ullpltag m ta.ICl'OK \lqlllll au Iba l\mdall      1vph wld& -.....i -                 r-.
                                                                                                         wu.....,...i..J .. ,_...,, ....i ..ci- n- "'
                  -                         et.,,.
                        • ..._ do. ,.........          1-'1 ID 1 A\VC•'l!R ,,,.. _...tl.IJI - ~ whlD ..... a .....,.... ia •n - - 1'1111111 h 1 ?Ml\
                           or die 9Dllllllt ftaidcd lo mo horelll. Tllia &mdad llllDUlll includa th• A~ p_. ihat I lfll'IClll ID whon tint
                  111alllhlY
                  IOplyillg fOr !Ill.I fimdlng. (l'epaacr, th.It Ulllka lllJ flllll t."4 a-.t stJ•OOJ Ia 1111 IHllt 11111 tflY '*"" Is
                 "flld riJa praceedt wllhin the fi1'lf 3 moor.. 111e pay.off U1au11t wm 11e allllpllld u If 11 wero ftllllid a1 1blJ llld or lllM
                 period. the monlhly ua foe it chapd ~ t1iit date antD dlD aur or Iba 6 11111111b interval darblg whlu payment or
                 .,,..._... ;. lllllde io I..AWCASH. 1n tho -     or :znuldple ,_..., a.n ._ ree. 111a11 cne Oil ea ftmdcd 1mn am
                 tis date ot l:ICh lndiviMI filndiDa. Thae UIOllOts wiU bo dedaoled AGlll l2lt ~ of m.r laMalt. 11 [ do DIM tmlY'lll'
                 ..., 11111111)' &om mJ Jawsu1t. r will not owe LAWCi\SH ...... If I RCO¥er mam, hm my lawait, which ii imafllcimt
                 to pay 1111: llJI amauotdue tDLAWCASH, lhca J..AWCASH's NCCM1J will bclml~ todal proowdsof'tbe llwnl't.

              2. Ihnbydlreccllillamountmbelllllribuled 11 tbUoM: S2JJI00.00p&,uie IO Womea'I Halth~SqayOnlr:r, U..

              3. 1 udll'&Wld lllCI 18'11 diar lllY bids lhllt )'al ld9lllDll to mt ror tho piqae at recelvlq .,. 1llCldiaal IRll1mellt f1f 1111.1
                 Dill, istuda,. bllt nat limitmd ID -acr.r. ~ -.., or pllJ'Chofasical btatmltdl or 1Mnpr, .WI be ftlUrMd to ,ou
                 inlledfl1cly ia lllO CYCllt dlil l cpl not 10 Ulldl:IJI> IUl:ll CllllllllCnt lbr l1f'I lllllCIO wballucwr. thldet fliest limiled
                 dlc:almllneel, r will remlirt UtdellW ID Jllll far lb 1e111ra       or
                                                                                    tiest fbdl. toatlllllr with 1111 qipartenmt ca1111 11111 fCcls
                 npdle• of die aalOame oflO)' Law..Ut

             4. Bein      ~ YoU. I inslrad my llUimlY ID vedfY lbD fid1 ..,.... 'N*oo owld. I ..._d that 8'ollld my 111Dmt1t,
                 my ~ er I Ma4 ,w a dect lbr lei• tliu die 111111 &llllllJ" M ID pay-oJI' of Ill)' atiliptioas,. CM. If tucll cliMt                     w
                 1llllked in. 11111 ,..,. 1o badiaitc ill&t ii Is fn 11111 ~" ct ta Alli n1mc ot )'GUI' elliln, al             am
                                                                                                                          writlm ICCCPlillal            or
                 ..W 1 - tum &am yau. I OCllnm& IO yoiar lmnedlalc dipait of ll1ICh C!hl!dt lboaO e,y lklllcllry 111111 I wiJI 19IDlio. Ila....
                 lirllle 11aJ1Ke di due 1pd owii1a with 1A1C1J dlarpt lllCl fties IS Ull1'8C«lt 111111JGV.•11114 IJI tldL

              5. lbe    t11m1 ·~         WU iac1ude 1DY      raomr    pUd u • camequwe              or 1111   Lawlllit whetlier "' llUlemcnt, judgment 0t
                 oUllrfrila.

             6. LAWCASH ......,.. Ille daht, 11 itl lole Ind llllolule clfacretbl, to decline ay lldvanci:s 11111 yet 1111de undr.r thi1
                aptlllllDl. '[Ills 111111 JIOt ·~ my obllptlcms rqanlina Ill)' lllllc1I 1lllldl ~ -      ....... ....., bat 1ICll
                limilad lo files ad clllrJU,

             1. I h911bv waiw     my der-c to Jll)'IMlt af the llllllS dW!I and an• AOl to leelC to Mid Pl)'l'lllllt Of any .lllDll.,C)' due ID
                 LAWCASHDlldel'1bilA~


             8. l will ils&nlot my dlOmDY to •II all p&ylMll1f 111:

                    Pllbdft'Bll&I V. LLC
                    10l111:SOJ7
                    llfttmlle, New Yark 1lm.3«27

             9. [ llftdealmld dlll Ille payment inmicdcu IOI ftll1ll hNlo n b:miocUle lll4 ani mt mbjlld. ID madllcaticln in my
                llllllMI', aimcp1 11)' LAWClf.SB or e&iy 8'1Clee1IOI' loader IO idlmiStcl 11)' dilll'I llllll only fl)' wrilllD llOtioo -mdiDI ot
                lllOdffyfq die p&JIMIU la.muct!ons caatalnecl !lmln.


           SBCTION 3. SICURJTY IMTEUST

             1. l 11inbJ pma LAWCASH a Lien mid Securi1y Inflnlt in the prv-61 ol dlD Lnnk. TM - . i t . . you mil Ii.
                witbbeld ftm\ 11t1 money coUectlld • 1 result of the Landi u4 plid immedialelJ upoa collstian IO LAWCASIL 11io
                lllllDlmt due . . . be pafd immediately alter my danley .... (inchlclina .... ClplllSll ...... by 1fll'f allDnleJ lbr CIOllB) md
                after p&ymCJll ·to Ill)' liat holdera Ulll mllbl alst of llCOl'd u of thla dlle, or which Ita'f bave priarilf by llW. I wW llOll
                noel" 1111 mono.y ftDm di. proceeds of U. 1-sllil until LA.WCASU liae been pal in 11111. This tWl 1lse> SJl'Pl1 to 111y
                llllvctlld seallllllllt ti my ltrnult. I aclalolvlldp tllat my m:cipt or 11111 ol ny tlmdt prior to the 1\l1l re 'flllYIMll& ID
                LAWCASR 111111~ nf11epl conW'lllfol1 imd may wdl&. • crimo.

              a, tn Ille - i 1111t tb1 -tsa-m or my 1..- In tho
                  LAWCA.SH      .n or the &n11 due wu1er lhil Alfecment
                                                                           pioo.-illllllllCliltel
                                                                                       di the 1-m ii Diil pemUtted 11, law, lllen I . , - to pay
                                                                                               llpllll 11e ..,._          or
                                                                                                                   tho Lawsmt )llOCICdl 11 •
                 .,.,...111c1
                            Independent oliliptloo.
        Page 2 (2228!4)                                                                                                        Olat11 l1lfllllt   ;IP

                                                                                                      12/09/2D11f.             2:50PM CGMT-05:00):
                                                                                                                                               : fr
                                                                                                                                              .. ......w
         i                                                                                                                                    ...       ~
                                                                                                                                                        .....

         j •; I s.:         I U  f .1 : r:
                                1H~ I p; ~1~i11 l .. i E ~ t. .. Jr: :I ts:;                         !l !1Hl            .I
         . . ,. ,. 't'· d                  1:i ..
                              lflr·I ~ ~bl ~ri Jf" iii~ iu:-Jr u                         ,.          E1111                                          i   1'.j
                                                                                                                                                    iiI1)C
             .11 ·! !H t!_ .1 ~.,i1 1 ~ h!!!ili 1 ~f i~~r ~n~i 1ii~
             r:
              f       Si   a   I                                                   i
                                 1J ! I 'r i ~l JI ~ !! r ~Ir a ~ H e~ a~ 'I'" rfl i f! ~                    I
             ;r            I ~! t ij•[I a i~li 11~ t IJ ii ~ f fs! i •I'
                                      8
             IJ            et  ~ 't      f  :                                                                                         r
                                                                               6
                                           ~1 i: 11 I If hi "@ ~ i. · i h r £if f ~, i J
             Jj            f   a!           e       •
                                               rJi1 i lftst            a.I 128!    :id
                                                                                  lfrt      _tJ~
             p·   I                            l r~ ! I "~ ! : ,l'.I ~ ! i u! ~ ~ i ... J ~ i l                                       s
             ~f                                       t•-~·1. ~
                           ti iihl l 1' ~l ..j ft~·                    r1 '" ~ l*r' f. ~'l
                           r ~:; ~                    !,: i l1        ;~1~1 i~!               JI U: s                 i~J ~.· -: 1    J!  I
             f,!)          (a~              ~       . fl]·Jt          !J~~ (•~                   ~ R~                 sft~s· l !
                                                                                                                                                    ]
             tl            f     !ii        i                         ;ri'J~~~                h gsae h~H J t:t                                      ID
                                                                                                                                                    00
                                                        flit1
~            •r            i ~fl ~                      f~e. ~ lh!.1SEJ                       ~~ rs&~~ .. ;~t! · J~r
~            ~•            ~ il t -g                                ~I. r ~ I ~ i             l~  ~ 5g~ ' ~I f ! !t.}        t
~            }s            • s-1J  f.                   JIlr Jlt Is.'"~l~r:.~~                ··~ e Q"'l J~ Ii r fRi
~        . l               i                ~             ~~~J.       rf·J1~Jc:ri
+                                           ii          S:11if   !l                           l        :ii-i-i:ia-=              t;
                                 i:i_f
                                 I                                     s.                                         I r
                                                                                              f.- ~~fit~ Ilaff ; 1!t.it

c;       tI                i1        I~                 I s- ~ l a·    -' : ~ r i ; ~                        ~i ~      ri1: m          IJ
!I                         I         1I     tJ          l r re   1.                                    S!    !j a      I wI I          I
                                                                       ~11 m11t ~ a ~
                                                                                              tJi
  I                        ~         ii•    ~                    5'            :.:ill~                           ~
         I~I                                            fiif             a.l I                I:                      .,qi;;IB        ~~
                                                                                                                                                                Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 40 of 43




0
~            J             -'I       U      ~           ~oh            Jf.;~ i!i!a            ; ··     h;S             ,.li'll'i      i~
0
......
                      Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 41 of 43
Oct 13 2017 03:45PM HP Fax                                                                  page 9




                   Ullder.allndings, negotiations, or dlscualoas, written or otal, of the parties brffto, relating ~ uy ll'lllsactioo cooqlmd
                   by tin: ~ lxnmer, um AarowC!lt do..s DOt aupomdo -.r pmiawily -.II: ~ aareancnts botwi:co tlH;
                   partiel. TU Apameal shall be biadiq ca. mid inin to Ibo belle& ot the p&rtica hereto and dlCir ncco11m and usips.

              2.   la Ibo - t di8t lhen: i• a dilpule .as to 11111 &llXllllll owed • cbo lime thlJ !he Lawlllit is l'elOl \llld, It Is exprady udemood
                   tbal my IUDrnll)' shall noi dlsb!ma any ftirlds 10 im:, or on my behalf. ucepl for IUlmlc:y '• fee• andfor aeiua1 dl1bur.lcmcri1s
                   fncurred by ID)' ~ in GONlllGlknl with tm ~ of ~ 1.aWIUit [ bel'Cby mak11 lM for1going &11 ~bio
                   dindkla m my 111erney, or hiuuceeaon.

              3. U' II)' pmillon of !his Agmmaai s1llll ba deemed iDYalki ar anmfon:eahlc, it lllall not allb:t lho validity or r:nb;calx1ity
                 or 1111 otaer prwisicn llercot: This writtClll llftCIMlll npNICllll Ille enlin acreemeat lletivooa I.he ~ It may only be
                 mocltied In wrltlq. 1bil Agreement llkO& proeedonccover tr.rJ priorunde:rstaidJtat, ~latiom.or erreanerns.

              4,   Certmn jmlsdctiou prolalbi1 "Chln.,ert)"'. 8-i.cdy, ~ makes It lllt:p) fbr aa Individual or COl11JlllAY IO acquhe
                   _ , _ cln'• rigbl 10 1t1e. In entarina iDfD IH qnaDcrll, lho pllttcs ac.blDwkdp tJial I.A.WCASH it in ne> wq
                   llCC(Uirfns my riabt to sue; Illa! I have ll!Udy started Cbc Llwlllit; tbal lhe Lawmit absolniiely belongs to me 1111d no ono
                   e11e: and lllat LAWCASH will in no VlrJ bt involved in lhe declisicms 11111 mt md my llbne)'(s) mm in cannecllon with
                   the t.awauit. 11111 la ID fnvllSlmant 111d l1llt a loan, b& lbould a Ormt ol llQll!pa!Ent jllriidiclion OOllltnle it to be 1lle latter,
                   then I 1,1m1 diu inrfnst lhlll accrue at the 111111fmum ralo p~1')' law.

              5. I 11J11C that 1111 dilpute.s that may llilD oat of tis Apement shall bl Id}~ In either Iha Supreme <Ain, Ill' me a.ii
                 Caart In die County or Kiap. This ~ will bo a11111ma1 in accardmm with Uir: Jaws of !be s.m or New Yort. I
                   uadca.amd t1iet In Iha ewnl that )'1111 d6 ndi l'lllllive ~ .. required by this Apanent md lbat you Deed to bib action
                   11> riux- 1UCh paymmr.       you
                                                 llllY Q>la.rt. in addition to 111e amo11111 d111 and      -ma.
                                                                                                          ra&lllllllbk al&Omcyl         roes
                                                                                                                                 &lid costs in
                                            r
                   cnfcrdng )'Ollr efl'orts. epe that an tm6Wll. equal fl.I on11 lhln1 C3l 113%) or tile amount due and owing Is a reasonable
                   lllDIMY'• b. Hotw11ba1111dlllg Ibo 1brcgo!llg. WI pl'1Mlllln1 puty ID 1111 lepl actiaa shah Le ~cd to iT.ll'IORllbl"
                   llomc)"s fee• llld ~.and that ona-thbd (33%%) of tholll!rn Ill i.ue is 1. n1Ullnllble .acniey's tee.

              6. 'l'bll   J\al:eemml   m&J 'be CDClllecl in 1epMlc ~· A Ii~ blllinilltcf by F/\X. shith be eft'ectivo with lho same
                   ron:o 1111!1 e&cta an origirud slptwe.        •
                                                                                                       t
              7. Notwithstandilla any ollaer provision or this collllle4 It the ICllo IDll exc:lyiive optiml of LAWCASff, any controvensy or
                 dliln !Irising out of or mllin& to tlD CC111tract. !ncladl111 wltliout limitation IU lntcrprdldion, validity, enforceability or
                 1in:aeh Ill~ llhl1I be nltlod by final, binding util lnllca llllml11Rnd by Ibo "'11edoan Art.ib'aliOll Alllooialiot>
                 (limUmftlr nt'omd ID as •AAA") in ~ wilh ill Cotmnerd.iil Adnu.tica Jbils. .mf fudpielll 1111 Ille llWltd
                 nndend by Iha nilratm 11111)' be eDlered in aoy aoutt llniDI jm1Jdlction lbcn:ll( The ubi1ralor lhll1 be a pnoticing
                 1t1amey or a rclirr:d judp u.:a-l 10 pnotic;o fn Ibo SU.. of New Yark. Tiiie pll'ties allc -ar- '1ilt the MA Oplicmal
                 Rulm fur Bmapey ~ ot' Pl'OllletMm eball apply to 1he proo1tcl11p, n. ubintor •hall awud to the prevailing
                 party, [f any, • detal'D'linMI by 1he arbllnllOr, 111 of ill COSIS and fees. 00.. ml m• mean &II pre.award ~ of' llH:
                 mbil:afkm. ln:llMllD, tbD arbitrator's ror:s. adminiitratlw    ree..  ltavol OllPCllMll. out-of-pocb:t expenses auch ai copying &nd
                 telcpllona, court CXllll, 'tritnelf leea. and &ttOmicys' fees. The a-.! lhll1 be ia writiP& slml be sipacl by the aibllmoT. lllld
                 mil iaGludf> a statement ~8 llM -                       for lho ~ e>f any claim.. LA.WCASll may ~ ia tole and
                 oxclmhe oplioo to mbitnm a 8llY timo .matsoever, ual.u I..AWCASH ha carnlll8llCOd a litlption or incerpoced a
                 IDIDlm' claim In Utlptioa dl!lt you have COllllDCllCOd. This (Jption is not waiYcd ln the event that LAWCASH !ntmpol cs en
                 Answer ia an ..ion 1hll )'O\I have COPUl'ICll!lOd.               I . HEREBY BXP~LY WAIVE                         nm   RIGHT TO
                   CONSOLIDATE. Oll TO HAVB HANDLED AS A CLASS ACilON,      ANY PllOCEePJNGS,
                   CONTROVERSIES. AllBI!RA.TIONS     OR DISPUIES OF ANY NATI.JR! WITH ANY
                   PR.OCBEDJNOS. CONTROVERSIES, ARBITRATIONS OR DISPUTBS INVOVLVINO ANY
                   PBRSON OR ENTrIY WHO IS NOT A PARTY TO 'llIJS AGREEMENT.


                                                      (JtBMAlNDER OF PAGE INlENTIONALLY LEFT BLANX.l




       Pase 4 {227.834)                                                                                                     al11111t'11.it111s   -:!f>

                                                                                                   12/09/2011J             4:53PM {GHT-05:00}
                              Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 42 of 43
Oct 13 2017 03:46PM HP Fax                                                                         page 10
   .   . :·     ·.'   .   .    ..   .   ~                    ·: .   ~.        .   ...         ;.                                                .. .

       DocUStgn Envelope IO: 1"4C7TCIE6-2757-4M6-!1631-0CDFB2TCDAl"C




                                                                                          ~ amt IAWCASH a Seolrlty lnlelelt llld Lic!I as per
                I haeby ICOClll LAWC\Sfrc
                a. teant hereat: ..t
                ,2014.
                                            "*' flmiDI as
                                                    r11e proceeds
                                                                    per Ille 1e1ms of 1llis
                                                                     or iny   llMDh 10 111e elt1lld specl1ltd ID flll• ~ GIL as       day ot



                DO NOT SIGN THIS CONTRACT BD'OR& YOU RAVE READ                                               rr   COMPLITBLY, OR IF IT
                CONTAINS ANY "BLANK SPACES.                                       BB.J'ORE YOU SIGN THIS CONTRA.er YOU SB!OULD
               OBTAIN TBB ADVICE 01' YOUR ATl'ORNBY.                                          YOU ARI ENTITLED        ro    A COMPLRTKLY
               nLLll> JN COPY OPTllIS CONTRACT.




                                             )
                                             )a.:




                                                                                                                           •.




                                                                                                        12/09/201~     2:50PM CGKT-05:00)
                     Case 4:18-cv-00063-JM Document 25 Filed 02/07/18 Page 43 of 43
Oct 13 2017 03:46PM 1-P Fax                                                    page 11

                                      -   :•                                                   ...




    DoalSlgn Envelope ID: F4CTTeE&-27~7-4A66-9631..0COFB27COAFC




                    Plahatiff Pmiding Bcldlog. Jno.
                    26 Court Sbeet
                    SuiteUCM
                    J>.oold,..a1 NY UM2
                    (718) 87.5-0605

                    Re:     Oimt: Joni Plummer
                            Caso: Jerri Plummer fbr tho .lnc1dcDt that occuned on or about 06/13/2008, or any odler
                                  telated tctiona



                        I am writing this lc:Um' in ibrthonmcc of 1111 epptic:alion for a            DOll·NC01118o   llCfva1lce in
                    coamctio11 witlt my TVM claim. It ia my hleontioa to uso Ibo tlmds for mrgery.

                        I ~ Cla'tiJ)' tl11&1 I lla1c bcca told that du. 1mgay is mcdicaD;y Deceqaiy and I ant aot
                    \DlChirgoins tile nrsotT far &ti)' other r:euoa. [ wat told OU. &y - - - - - - - -
                    (please inat the name or the dodor or medical annip).




                                                                                      12/0912014 2:50PM (GMT-05:00)
